                                                                                                                                                                                12/11/13 7:28PM



                                                                     United States Bankruptcy Court
                                                                             Eastern District of Michigan
 In re       James Randall Johnson                                                                                                                Case No.   13-23089
                                                                                                     Debtor(s)                                    Chapter    7



                                                                 STATEMENT OF ATTORNEY FOR DEBTOR(S)
                                                                    PURSUANT TO F.R.BANKR.P. 2016(b)
             The undersigned, pursuant to F.R.Bankr.P. 2016(b), states that:
1.           The undersigned is the attorney for the Debtor(s) in this case.
2.           The compensation paid or agreed to be paid by the Debtor(s) to the undersigned is: [Check one]
             [X]     FLAT FEE
              A.           For legal services rendered in contemplation of and in connection with this case,
                           exclusive of the filing fee paid . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          1,000.00
              B.           Prior to filing this statement, received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. .                   0.00
              C.           The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     1,000.00
             [ ]          RETAINER
              A.          Amount of retainer received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

              B.           The undersigned shall bill against the retainer at an hourly rate of $ . [Or attach firm hourly rate schedule.] Debtor(s) have
                           agreed to pay all Court approved fees and expenses exceeding the amount of the retainer.

3.           $     306.00       of the filing fee has been paid.
4.           In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including: [Cross out any
             that do not apply.]
             A.           Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
                          bankruptcy;
             B.           Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
             C.           Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
             D.           Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
             E.           Reaffirmations;
             F.           Redemptions;
             G.           Other:
5.           By agreement with the debtor(s), the above-disclosed fee does not include the following services:


6.           The source of payments to the undersigned was from:
              A.        XX              Debtor(s)' earnings, wages, compensation for services performed
              B.                        Other (describe, including the identity of payor)
7.           The undersigned has not shared or agreed to share, with any other person, other than with members of the undersigned's law firm or
             corporation, any compensation paid or to be paid except as follows:

 Dated:          December 11, 2013                                                                                           /s/ Gregory J. Ostrom
                                                                                                                             Attorney for the Debtor(s)
                                                                                                                             Gregory J. Ostrom P50977
                                                                                                                             Ostrom Law Firm, P.C.
                                                                                                                             4901 Towne Centre, Ste. 115
                                                                                                                             Saginaw, MI 48604
                                                                                                                             (989) 497-1040 ostrom@ostrom.net

 Agreed:         /s/ James Randall Johnson
                 James Randall Johnson
                 Debtor                                                                                                      Debtor




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